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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

v. : Case No. 1:23-CR-00222-DLF

SAI VARSHITH KANDULA,
Defendant.
STATEMENT OF OFFENSE
A. ELEMENTS OF OFFENSE
The parties in this case, the United States of America and the defendant SAI VARSHITH
KANDULA (“defendant”), stipulate and agree that the following constitute the elements of the

offenses to which he is pleading guilty to.

Count 1. Depredation Against Property of the United States, in violation of 18 U.S.C.
1361

1. The defendant injured or committed a depredation against property.

2. The property involved was property of the United States or of any department
or agency thereof.

3. The defendant acted willfully.

4. The damage to the property exceeded the sum of $1,000.
B. PENALTIES
Count 1. A conviction for a violation of 18 U.S.C. § 1361 carries a maximum sentence of
10 years of imprisonment; a fine not to exceed the greater of that authorized in accordance with
the provisions of Title 18 or $250,000 a term of supervised release of not more than 3 years, and
an obligation to pay any applicable interest or penalties on fines and restitution not timely made.
Cc. FACTS

This proffer of evidence is not intended to constitute a complete statement of all facts

known by the government or the defendant, but is instead a statement of facts intended to provide

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the necessary factual predicate for the guilty plea in this case. The limited purpose of this proffer

is to demonstrate that there exists a sufficient legal basis for entry of the defendant’s plea of guilty.

The United States and the defendant agree and stipulate as follows:

l.

On Monday May 22, 2023, at approximately 9:35 p.m., Defendant SAI
VARSHITH KANDULA, drove a U-Haul truck into the metal bollard barriers
preventing access to the White House and Presidents Park at the intersection of H
Street, Northwest and !6th Street, Northwest, in Washington, D.C. In doing so,
Defendant KANDULA drove onto the sidewalk, sending some pedestrians running
from the scene. After striking the barriers, the U-Haul backed up in reverse, and
lurched forward, striking the metal barriers a second time.

The second impact shook the chassis of the U-Haul. At the same time, multiple
pedestrians fled the scene by running away from the U-Haul. The second impact
disabled the U-Haul which began smoking from the engine compartment and
leaking fluids.

Defendant Kandula exited the driver’s side of the vehicle and went to the back of
the U-Haul. Mr. Kandula removed a three foot by five foot red and white flag with
a Nazi Swastika in the center from a black backpack he was carrying, brandishing
the Nazi flag. Defendant Kandula was taken into custody by members of the United
States Park Police and the United States Secret Service.

Defendant Kandula’s actions caused $4,322 in damage to the National Park
Service. This amount included costs for repairing the metal bollard barriers to their
original condition and ensuring structural soundness, oil and chemical removal,
spill cleanup, and disposal of fluids from the crashed U-Haul. The damaged
property was property of a department or agency of the United States, specifically
the National Park Service, an agency of the United States federal government,
within the U.S. Department of the Interior.

When he crashed the U-Haul into the metal barriers, Defendant Kandula acted
willfully. At the time Defendant Kandula crashed the U-Haul into the barriers, he
was attempting to gain access to the White House in order to seize political power.
It was Defendant Kandula’s intent to replace the democratically elected
government with a dictatorship fueled by ideology of Nazi Germany and for
himself to be put in charge of the United States. Defendant Kandula admitted to
investigators that he would have arranged for the killing of the U.S. President and
others if necessary to achieve his objective. His actions were calculated to
influence or affect the conduct of government by intimidation or coercion.

Defendant Kandula had been planning the attack for several weeks. Prior to renting
the U-Haul and crashing it on May 22, 2023, he made several attempts to gain
access to vehicles or armed security guards. For example, on April 22, 2023,

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Defendant Kandula requested 25 armed guards and an armored convoy from a
security company located in Virginia. On May 4, 2023, Defendant Kandula
attempted to contact several other companies besides U-Haul in an attempt to rent
a large commercial tractor-trailer truck, a dump truck, or another large truck. Mr.
Kandula was unsuccessful in arraigning for security guards or a tractor-trailer truck
or dump truck. Defendant Kandula attempted to arrange for the services of these
security guards and the use of large vehicles in order to carry out his offense against
the U.S. Government.

7. Defendant Kandula flew on a commercial flight from St. Louis, Missouri to
Washington D.C. in the afternoon of May 22, 2023, connecting through another
airport on a one-way airline ticket. Defendant Kandula arrived at Dulles
International Airport at approximately 5:20 p.m., rented the U-Haul truck at 6:30
p.m., stopped for food and gas, and drove to Washington, D.C., crashing into the
barriers protecting White House and President’s Park at 9:35 p.m.

Respectfully Submitted,

By: /s/Alexander R. Schneider
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Special Assistant United States Attorney

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DEFENDANT’S ACKNOWLEDGMENT

I have read this factual proffer and have discussed it with my attorney, Scott Rosenblum,
Esq. I fully understand this factual proffer. I agree and acknowledge by my signature that this
proffer of facts is true and accurate. I do this voluntarily and of my own free will, intending to be
legally bound. No threats have been made to me nor am | under the influence of anything that
could impede my ability to understand this factual proffer fully.

7)
Date: Z yy 3m
SAI VA ITH KANDULA

Defendant

ATTORNEY’S ACKNOWLEDGMENT

I have read this factual proffer, and have reviewed fully it with my client, SAI
VARSHITH KANDULA. I concur in my client’s desire to adopt this factual proffer as true and
accurate.

Date: Sia 4027 — Li; Z

Scott Rosenblum, Esq.
Attorney for Defendant

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